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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: TESTOSTERONE            )                     Case No.: 1:14-cv-01748
REPLACEMENT THERAPY            )                     MDL NO. 2545
PRODUCTS LIABIILITY LITIGATION )                     JUDGE MATTHEW F. KENNELY

THIS DOCUMENT RELATES TO:
ARMANDO J. ROBERTO, JR. AND ELIZABETH E. ROBERTO, #1:15-cv-7085

             PLAINTIFFS’ MOTION TO VACATE ORDER OF DISMISSAL


       NOW COME the Plaintiffs, Armando J. Roberto, Jr. and Elizabeth E. Roberto, by and

through their attorneys, Rilee & Associates, P.L.L.C., and pursuant to Federal Rules of Civil

Procedure 59 and 60, hereby respectfully submit this Motion to Vacate Order of Dismissal, along

with the accompanying Memorandum in Support and Proposed Order, and respectfully request

that this Honorable Court enter an Order (a) vacating the May 11, 2018 dismissal of their lawsuit

and (b) reinstating their lawsuit and claims such that, in accordance with the global settlement of

MDL 2545, they may proceed on the merits through the Androgel Resolution Program.



                                                     Respectfully submitted,

                                                     ARMANDO J. ROBERTO, JR. AND
                                                     ELIZABETH E. ROBERTO,

                                                     By Their Attorneys,

                                                     RILEE & ASSOCIATES, P.L.L.C.


   Date: March 3, 2019                       By:     /s/ Cyrus F. Rilee, III_____________
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                               CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing Plaintiffs’ Motion to Vacate Order of Dismissal
 has been served this day via CM/ECF on all counsel of record.


 Date: March 3, 2019                     By:     /s/ Cyrus F. Rilee, III_____________
                                                 Cyrus F. Rilee, III




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